Case 3:22-cv-00521-REP Document 64-7 Filed 01/12/24 Page 1 of 2




                                      EXHIBIT C
          Case 3:22-cv-00521-REP Document 64-7 Filed 01/12/24 Page 2 of 2




December 8, 2022                                                                    Wendy J. Olson
                                                                 101 S Capitol Boulevard, Suite 1900
                                                                                   Boise, ID 83702
Ashley Guillard                                                                     D. 208.387.4291
                                                                            wendy.olson@stoel.com
4100 Southwest Fwy, Apt 368,
Houston, TX 77027
tarotbyashleyg@gmail.com

Re:      Second Cease and Desist – False and Defamatory Statements Regarding Professor
         Rebecca Scofield

Dear Ms. Guillard:

        As you know, Stoel Rives, LLP represents Rebecca Scofield, an associate professor at the
University of Idaho. You have made multiple false and defamatory statements regarding Professor
Scofield on TikTok. On November 28, 2022, we sent you, by email, a cease-and-desist letter
demanding that you immediately remove all such false and defamatory TikToks from that platform
and immediately cease and desist from making or publishing any similar TikToks or false
statements on any other public platform. You failed to do so. Instead, you knowingly published
additional defamatory statements, repeating your previous false statements, and making additional
false statements.

       A copy of Professor Scofield’s November 28, 2022, cease and desist letter is enclosed.
Considering your failure to immediately remove previously published TikToks containing false
and defamatory statements and considering your publication of additional such defamatory
statements by TikTok, Professor Scofield intends to file a defamation lawsuit against you. If,
following your receipt of this letter you do not immediately remove the defamatory TikToks and
immediately cease and desist from making additional defamatory statements about Professor
Scofield, the amount of damages Professor Scofield will seek to recover will increase substantially.

       Professor Scofield has been patient and provided opportunities for you to cease making
defamatory statements and to publicly correct your false statements. Your ongoing conduct is
harmful to her, her professional reputation, and her family. We look forward to hearing that you
have complied with Professor Scofield’s demands.

Sincerely,




Wendy J. Olson




117585931.1 0099880-01458
